Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 1 of 15




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO

   MINA DE ORO, LLC, a Nevada limited              Case No.

   liability company; THE TOY CHEST, LLC a

   Nevada limited liability company,

                          Plaintiffs,

   v.

   MATTHEW BRENT GOETTSCHE, an

   individual,

                            Defendants.

                      COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, Plaintiffs, MINA DE ORO, LLC, THE TOY CHEST, LLC (hereinafter

   collectively referred to as “Plaintiffs”) by and through their attorneys, KERR SIMPSON

   ATTORNEYS AT LAW, and complain and allege against Defendants MATTHEW BRENT

   GOETTSCHE, (hereinafter referred to as “Defendant”) as follows:

                                        NATURE OF ACTION

          1.     Plaintiffs brings this action against Defendant to seek relief from their

   violations of Rule 10b-5 under the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et

   seq., codified at 17 C.F.R. § 240.10b-5 (the “Federal Claims”). Plaintiffs additionally

   asserts pendent claims arising out of the same operative facts as the Federal Claims for

   violation of CRS § 11-51-501, fraud, negligent misrepresentation, fraudulent inducement,

   breach of contract, and unjust enrichment (the “State Law Claims”).



                                               1
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 2 of 15




                                             PARTIES

         2.     Plaintiffs are Nevada limited liability companies domiciled in Nevada and

   subject to Nevada law and jurisdiction.

                                 JURISDICTION AND VENUE

         3.     The Court has jurisdiction of this action pursuant to 28. U.S.C. § 1331 based

   upon the existence of a question arising under particular federal statutes and regulations,

   namely 15 U.S.C. § 78a, et seq., and 17 C.F.R. § 240.10b-5. In addition, the Court has

   jurisdiction of this action pursuant to 28 U.S.C. § 1332, as the action is between parties

   of diverse citizenship and the amount is controversy exceeds $75,000. Plaintiffs also

   invokes the supplemental jurisdiction of this Court to determine the State Law Claims

   raised herein pursuant to 28 U.S.C. § 1367.

         4.     Venue in the District of Colorado is proper pursuant to 28 U.S.C. §

   1391(b)(1) because the Defendant resides in Denver County, State of Colorado.

         5.     This Court has personal jurisdiction over Defendant, in Colorado because:

                a)     Plaintiff entities are Nevada entities and the solicitations to purchase

   fraudulent securities occurred in the State of Nevada to the managers and members of

   these entities at the direction of Defendant who is a resident of Denver County, State of

   Colorado.

                b)     Defendant, from Colorado, during a period from April 2014 through

   December 2019 engaged in a fraudulent scheme that solicited money from investors in

   exchange for purported cryptocurrency mining pools and rewarded investors for recruiting

   other new investors into the scheme. In a recent press release from the US Attorneys



                                                2
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 3 of 15




   office in the District of New Jersey, the US attorney announced that Gordon Beckstead,

   a resident of Henderson, Nevada, had pleaded guilty to conspiracy to commit money

   laundering and aiding in the preparation of a false tax return. As part of the guilty plea

   Beckstead admitted conspiring with Defendant and others to launder funds earned by

   Defendant in Colorado through his operation of the Bitclub Network. Beckstead stated

   that at Defendant’s direction, that Beckstead created and controlled various entities that

   were used by Defendant in Colorado and others to shield Defendant’s association with

   the Bitclub Network and to disguise income derived from the Bitclub Network.

                  c)     The fraudulent tax returns for the benefit of Defendant in Colorado

   were prepared by his CPA Beckstead and the conspiracy was directed by Defendant in

   the State of Colorado with Nevada individuals.

                  d)     Beckstead the former CPA set up various entities wherein Defendant

   held assets in the State of Colorado purchased with the fraudulent funds obtained by

   operating the Bitclub Network scheme. Defendant directed Beckstead to set up the

   entities and directed the purchase of the assets with the fraudulent Bitclub Network funds,

   including real estate located in Nevada.

                               FACTS COMMON TO ALL COUNTS

          6.      During the spring of 2018, Defendant engaged in direct and indirect

   solicitation of the Plaintiff entities to participate in a Bitcoin (“BTC”) related multi-level BTC

   mining scheme (“the Bitclub Offering”) by offering for sale positions in a multi-level matrix

   and shares of BTC mining business issued by Defendant. Defendant engaged in these

   private and public solicitations through a website (www.bitclub.com (“Bitclub”) wherein



                                                   3
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 4 of 15




   the Defendant created and maintained a website for the Bitclub Offering, and through

   independent business operators within the Bitclub scheme through the means or

   instrumentalities of interstate commerce, including email and the internet.

          7.     In connection with the Bitclub Offering, Defendant had and owed to Plaintiff

   entities a duty to disclose and provide truthful and honest facts and information

   concerning the Bitclub Offering.

          8.     In an effort to solicit the Plaintiff entities and to induce them into investing in

   the Bitclub Offering, Defendant, acting both individually and as the controlling member of

   the Bitclub Scheme made the following untrue statements of material fact to Plaintiffs (the

   “Bitclub Misrepresentation”):

                 (a)      misleading figures regarding the amount of crypto currency mining

   operations in place;

                 (b)      misleading figures regarding the amount of crypto currency being

   mined at Bitclub controlled mining operations;

                 (c)      misleading figures and documentation regarding the amount of

   future profit to be derived from the Bitcoin mining operations;

                 (d)      fraudulent statements from Defendant and Defendant’s independent

   business operators within the multi-level marketing scheme regarding commissions to be

   paid for joining the Bitclub Scheme and recruiting others to join the Bitclub Scheme and

   invest in the Bitclub Offering;

                 (e)      misleading statements regarding future operations and investments

   by the Bitclub management;



                                                  4
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 5 of 15




                 (f)    untrue and misleading statements regarding access to funds

   invested in the Bitclub Offering through an internet-based website.

          9.     At the time the Bitclub Misrepresentations were made to Plaintiffs,

   Defendant also knew, or reasonably should have known, of the following materials facts

   that Defendant omitted to communicate to the Plaintiffs (“the Bitclub Omissions”):

                 (a)    risk involved in crypto currency mining operations concerning costs

   of mining, reduced mining rewards because of competition and volatility of the BTC and

   crypto currency markets;

                 (b)    illegality of the Bitclub Scheme as it relates to the multi-level

   marketing scheme;

                 (c)    illegality of the Bitclub Offering and failure of Bitclub and Defendant

   to register the Bitclub Offering as a security with the Securities Exchange Commission,

   the State of Colorado Securities Division and the State of Nevada Securities Division;

                 (d)    that proceeds from the Bitclub Offering and the multi-level Bitclub

   Scheme were being converted by Defendant for his personal use rather than the

   acquisition of promised crypto currency mining equipment.

          10.    In reasonable and justified reliance upon the Bitclub Misrepresentations and

   Bitclub Omissions made by Defendant, each of the Plaintiffs transmitted BTC or cash to

   Defendant to purchase a specified amount of the Bitclub Offering as follows:

                 a.     Plaintiff, MINA DEL ORO, LLC, transmitted p250,000.00 USD to a

   Bitclub representative for purchase of the Bitclub Offering;

                 b.     Plaintiff THE TOY CHEST, LLC, transmitted $250,000.00 USD to a



                                                5
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 6 of 15




   Bitclub representative for purchase of the Bitclub Offering.

          11.    In reasonable and justified reliance upon the Bitclub Misrepresentations and

   Bitclub Omissions, each of the Plaintiffs entered into a Bitclub Scheme investor contract

   as set forth in the Bitclub Scheme website (“Bitclub Contract”).

          12.    Plaintiffs would not have purchased the Bitclub Offering or entered into the

   Investor Contracts if Plaintiffs had known that the Bitclub Misrepresentations were false

   or if Plaintiffs had been aware of the Bitclub Omissions.

          13.    Subsequent to their solicitation and sale of the Bitclub Offering to Plaintiffs,

   Defendant has materially breached and defaulted on his obligations to Plaintiffs under the

   parties’ contracts by, among other actions:

                 (a)    failing and refusing to pay dividends, bonuses and other

   compensation due to the Plaintiffs as required by the investor contracts;

                 (b)    repeatedly misrepresenting and concealing the true nature and

   status of the Plaintiff’s investments in Bitclub as well as the finances, operations and legal

   status of Bitclub; and

                 (c)    violating various state and federal laws in connection with the offer

   and sale of the Bitclub Offering to the Plaintiffs and other investors in Bitclub.

          14.    As a direct and proximate consequence of Defendant’s unlawful conduct as

   described herein, the Plaintiffs have and will continue to incur substantial damages. The

   Plaintiff’s damages from the loss of their investment due to Defendant’s actions and

   inactions include the $250,000.00 USD investment of each of the Plaintiffs and the mined

   BTC and loss of investment returns given the value of BTC currently, excluding unpaid



                                                 6
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 7 of 15




   dividends, interest, attorney’s fees and costs of litigation.

          15.      Plaintiffs have made repeated demands upon Defendant to rescind the

   unlawful transactions at issue and to return the funds that Defendant fraudulently obtained

   from Plaintiffs. To date, Defendant has closed the Bitclub website and has neglected to

   return the Plaintiff's funds, persisting in their unlawful behaviors and omissions.

          16.      Plaintiffs have fulfilled or performed all conditions precedent to the filing of

   this action, and/or such conditions precedent have been waived by Defendant.

                        COUNT I – VIOLATION OF 17 C.F.R. § 240.10B-5

          17.      Plaintiffs reallege and incorporate Paragraphs 1 through 16 as if fully set

   forth herein.

          18.      The Bitclub Offering offered for sale by Defendant and purchased by

   Plaintiffs constitute securities under the Securities Act of 1933.

          19.      Defendant made untrue statement of material facts to Plaintiffs concerning

   the Bitclub Offering, including, but not limited to, the Bitclub Misrepresentations, in

   connection with the sale of the Bitclub Offering.

          20.      Defendant was aware of and omitted to communicate certain material facts

   concerning the Bitclub Offering to Plaintiffs, including, but not limited to, the Bitclub

   omissions, in connection with the sale of the Bitclub Offering.

          21.      The Bitclub Misrepresentations and Bitclub Omissions made by Defendant

   constitute acts, practices, or a course of business that operated as a fraud and deceit

   upon Plaintiffs.

          22.      Defendant used means of instrumentalities of interstate commerce,



                                                   7
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 8 of 15




   including the mail, email and the internet, in connection with the Bitclub

   Misrepresentations and Bitclub Omissions, and to directly or indirectly employ a device,

   scheme, or artifice to convince Plaintiffs to purchase the Bitclub Offering.

          23.      Defendant obtained BTC, money and/or other property from Plaintiffs as a

   result of the Bitclub Misrepresentations and Bitclub Omissions.

          24.      The Bitclub Misrepresentations and Bitclub Omissions of Defendant

   constituted securities fraud in violation of 17 C.F.R. § 240.10b-5.

          25.      Plaintiffs have suffered damages as a direct and proximate cause of

   Defendant’s violation of 17 C.F.R. § 240.10b-5.

                    COUNT II – VIOLATION COLORADO SECURITIES LAW

                                         CRS § 11-51-501

          26.      Plaintiffs reallege and incorporate Paragraphs 1 through 25 as if fully set

   forth herein.

          27.      This is a claim by Plaintiff entities against Defendant for violation of CRS §

   11-51-501 and all other applicable securities statutes under CRS Article 51.

          28.      The Bitclub Offering and the Bitclub multi-level marketing positions

   purchased by Plaintiffs from Defendant constitutes an “Fraudulent conduct” under CRS

   Article 51.

          29.      In connection with the Bitclub Offering to Plaintiffs, Defendant made the

   following misrepresentations and omission of fact:

                   (a)    misleading figures regarding the amount of crypto currency mining

   operations in place;



                                                  8
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 9 of 15




                 (b)    misleading figures regarding the amount of crypto currency being

   mined at Bitclub controlled mining operations;

                 (c)    misleading figures and documentation regarding the amount of

   future profit to be derived from the Bitcoin mining operations;

                 (d)    fraudulent statements from Defendant and Defendant’s independent

   business operators within the multi-level marketing scheme regarding commissions to be

   paid for joining the Bitclub Scheme and recruiting others to join the Bitclub Scheme and

   invest in the Bitclub Offering;

                 (e)    misleading statements regarding future operations and investments

   by the Bitclub management;

                 (f)    failing and refusing to pay dividends, bonuses and other

   compensation due to the Plaintiffs as required by the investor contracts;

                 (g)    repeatedly misrepresenting and concealing the true nature and

   status of the Plaintiff’s investments in Bitclub as well as the finances, operations and

   legal status of Bitclub; and

                 (h)    violating various state and federal laws in connection with the offer

   and sale of the Bitclub Offering to the Plaintiffs and other investors in Bitclub.

          30.    Defendant made the Bitclub Misrepresentations and Bitclub Omissions to

   Plaintiffs with reckless disregard for the truth of their communications.

          31.    Defendant knew or reasonably should have known that Plaintiffs would

   justifiably and reasonably rely on the Bitclub Misrepresentations and Bitclub Omissions.

          32.    Plaintiffs justifiably and reasonably relied on the Bitclub Misrepresentations



                                                 9
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 10 of 15




   and the Bitclub Omissions in connection with his purchase of Bitclub Offering.

          33.      Defendant violated CRS § 11-51-501 by causing Plaintiffs to invest in the

   Bitclub Offering in reliance upon the Bitclub Misrepresentations and Bitclub Omissions.

          34.      Plaintiffs have suffered damages as a direct and proximate cause of

   Defendant’s violations of CRS § 11-51-501 and other securities laws set forth in CRS

   Article 51.

                                COUNT III – COMMON LAW FRAUD

          35.      Plaintiffs reallege and incorporate Paragraphs 1 through 34 as if fully set

   forth herein.

          36.      In connection with the Bitclub Offering, Defendants misrepresented and

   omitted to communicate material facts concerning the Bitclub Offering to Plaintiffs,

   including, but not limited to, the Bitclub Misrepresentations and Bitclub Omissions.

          37.      Defendant knew he was omitting material facts concerning the Bitclub

   Offering in order to induce Plaintiffs to invest in and purchase the Bitclub Offering.

          38.      Plaintiffs   reasonably    and     justifiably   relied   upon   the   Bitclub

   Misrepresentations and Bitclub Omissions by investing in and purchasing the Bitclub

   Offering.

          39.      Plaintiffs were induced into purchasing the Bitclub Offering as a result of the

   Bitclub Misrepresentations and Bitclub Omissions, and Plaintiffs would not have

   purchased the Bitclub Offering had Defendant not made the Bitclub Misrepresentation

   and Bitclub Omissions.

          40.      Plaintiffs have suffered damages as a direct and proximate cause of



                                                 10
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 11 of 15




   Defendant’s fraud.

                                COUNT IV – FRAUDULENT INDUCEMENT

           41.     Plaintiffs reallege and incorporate Paragraphs 1 through 40 as if fully set

   forth herein.

           42.     In connection with the Bitclub Offering, Defendant misrepresented and

   omitted to communicate material facts concerning the Bitclub Offering, and Bitclub

   Contract to Plaintiffs, including, but not limited to the Bitclub Misrepresentations and

   Bitclub Omissions.

           43.     Defendant knew that the Bitclub Misrepresentations were false at time such

   misrepresentations were communicated to Plaintiffs.

           44.     Defendant knew that they were omitting material facts concerning the

   Bitclub Offering when making the Bitclub Omissions during communications with

   Plaintiffs.

           45.     Defendant     intended    for   the    Plaintiffs   to   rely    upon   the   Bitclub

   Misrepresentations and Bitclub Omissions in order to induce Plaintiffs to invest in and

   purchase the Bitclub Offering and to enter into the Bitclub Contract.

           46.     Plaintiffs   reasonably     and       justifiably   relied      upon    the   Bitclub

   Misrepresentations and Bitclub Omissions by purchasing the Bitclub Offering and

   entering into the Bitclub Contract.

           47.     Plaintiffs were induced into purchasing the Bitclub Offering and entering into

   the Bitclub Contract as a result of the Bitclub Misrepresentations and Bitclub Omissions.

   Plaintiffs would not have purchased the Bitclub Offering or entered into the Bitclub



                                                   11
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 12 of 15




   Contract had Defendant not made the Bitclub Misrepresentations and Bitclub Omissions.

          48.      Plaintiffs have suffered damages as a direct and proximate cause of

   Defendant’s fraud.

                              COUNT V – BREACH OF CONTRACT

          49.      Plaintiffs reallege and incorporate Paragraphs 1 through 48 as if fully set

   forth herein.

          50.      Plaintiffs each entered into a Bitclub Contract in connection with their

   investment in and purchase of the Bitclub Offering.

          51.      Defendant has breached the Bitclub Contract by, among other things,

   failing and refusing to pay dividends, bonuses, commissions and other compensation

   due to the Plaintiffs as required by the Bitclub Contract.

          52.      Plaintiffs have suffered damages as a direct and proximate cause of

   Defendant’s breach of violation of the parties’ contracts.

                               COUNT VI – UNJUST ENRICHMENT

          53.      Plaintiffs reallege and incorporate Paragraphs 1 through 52 as if fully set

   forth herein.

          54.      Plaintiffs conferred benefits on Defendant by investing in and purchasing

   the Bitclub Offering.

          55.      Defendant has failed to compensate Plaintiffs for their investment in the

   purchase of the Bitclub Offering.

          56.      Defendant was and is aware that Plaintiffs expected to be compensated for

   the benefits conferred upon Defendant by Plaintiffs.



                                                 12
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 13 of 15




           57.     Defendant has retained the benefits conferred by Plaintiffs notwithstanding

   Defendant’s Bitclub Misrepresentations and Bitclub Omissions, and Defendant’s failure

   to honor the terms of the parties’ contracts.

           58.     It is inequitable for Defendant to continue to retain the benefits conferred by

   Plaintiffs in connection with the Bitclub Offering, and Bitclub Contract, without

   compensating Plaintiffs.

           59.     Defendant has been unjustly enriched by Plaintiffs to Plaintiffs’ detriment.

                                   COUNT VII – CONVERSION

           60.     Plaintiffs reallege and incorporate Paragraphs 1 through 59 as if fully set

   forth herein.

           61.     Plaintiffs are the rightful owners of the monies they invested in the Bitclub

   Offering.

           62.     Defendant converted the monies that were the property of the Plaintiffs by

   exercising dominion and control over the property by using the money and failing to return

   it.

           63.     Defendant’s exercise of dominion or control over Plaintiff’s personal

   property is unauthorized.

           64.     Plaintiff has demanded that Defendant return the personal property to

   Plaintiff.

           65.     Defendant has failed and refused to return the personal property to Plaintiff.

           66.     As a result of this failure, Plaintiffs have and will continue to suffer losses

   and damages.



                                                 13
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 14 of 15




           67.     Accordingly, Plaintiff is entitled to damages for this wrongful conversion.

                                    COUNT VIII – CIVIL THEFT

           68.     Plaintiffs reallege and incorporate Paragraphs 1 through 67 as if fully set

   forth herein.

           69.     Plaintiffs owned or had an ownership interest in the monies they invested in

   the Bitclub Offering.

           70.     Defendant knowingly, without authorization, and by deception obtained,

   retained, and exercised control over the Plaintiffs’ monies.

           71.     Defendant did so with the intent to permanently deprive the plaintiff of the

   use or benefit of Plaintiff's monies.

           72.     Plaintiff has demanded that Defendant return the personal property to

   Plaintiff.

           73.     Defendant has failed and refused to return the personal property to Plaintiff.

           74.     As a result of this failure, Plaintiff has and will continue to suffer losses and

   damages.

           75.     Accordingly, Plaintiff is entitled to damages for this wrongful conversion.

           WHEREFORE, Plaintiffs respectfully request that the Court enter a judgment

   against Defendant for treble damages, compensatory damages, incidental and

   consequential damages, pre- and post-judgment interest, attorney’s fees and costs of

   litigation, and any other relief that the Court deems appropriate and just.

                                    DEMAND FOR JURY TRIAL

           Plaintiffs demands a trial by jury on all issues and claims so triable.



                                                  14
Case No. 1:23-cv-03174-GPG-NRN Document 1 filed 12/01/23 USDC Colorado pg 15 of 15




         DATED December 1, 2023.



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                                        15
